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AO 91 (Rev 8/01) Criminal Complaint

United States District Court

SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

 

 

United States District Court

UNITED STATES OF AMERICA Southern Pict Of Texas
V. | D CRIMINAL COMPLAINT
Douglas Roberto Torres-Nuth SEP 24 2019

Case Number: M-19-2289-M
David J. Bradley, Clerk

\AE YOB: 1976
Honduras >
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about September 23, 2019 in Hidalgo County, in

the Southern District of Texas

(Track Statutory Language of Offense)
being then and there an alien who had previously been deported from the United States to Honduras in pursuance of law, and
thereafter was found near Mission, Texas, within the Southern District of Texas, the Attorney General of the United States and/or the

Secretary of Homeland Security, not theretofore having consented to a reapplication by the defendant for admission into the United
States; , ;

in violation of Title 8 United States Code, Section(s) 1326 (Felony)
I further state that I am a(n) Border Patrol Agent and that this complaint is based on the
following facts:

 

Douglas Roberto Torres-Nuth was encountered by Border Patrol Agents near Mission, Texas on September 23, 2019. The
investigating agent established that the defendant was an undocumented alien and requested record checks. The defendant claims to
have illegally entered the United States on September 23, 2019, near Hidalgo, Texas. Record checks revealed the defendant was
formally deported/excluded from the United States on July 17, 2003 through Houston, Texas. Prior to deportation/exclusion the
defendant was instructed not to return to the United States without permission from the U.S. Attorney General and/or the Secretary of
Homeland Security. On May 24, 1994 the defendant was convicted of Assault Causes Serious Bodily Injury and sentenced to six (6)
years confinement and ten (10) years probation.

Approved by RASH S.PiPitazA aleulia @ F:2t am

 

 

 

 

 

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Continued on the attached sHdet and made a part of this complaint: | |ves [x No
Sworn to before me and subscribed in my presence, Signature of Comp ainanh/
September 24, 2019 Nicolas Busgpe/ ‘ /®order Patrol Agent
J Scott Hacker , U.S. Magistrate Judge LL

 

 

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Name and Title of Judicial Officer Signatur: Judicial Officer

 
